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                         UNITED   STATES DISTRICT
                         UNITED STATES      DISTRICT COURT
                                                      COURT
                   MIDDLE DISTRICT
                   MIDDLE DISTRICT OF OF FLORIDA
                                         FLORIDA TAMPA      DIVISION
                                                    TAMPA DIVISION
                           Civil Action No.
                           Civil Action No. _______________

___________________________________ X
                                    X
                                    :
TRAVIS
TRAVIS TAAFFE,
        TAAFFE,                     :                     CLASS ACTION COMPLAINT
                                                          CLASS ACTION COMPLAINT
                                    :
                  Plaintiff,
                  Plaintiff,        :                     DEMAND FOR
                                                          DEMAND FOR JURY
                                                                     JURY TRIAL
                                                                          TRIAL
                                    :
vs.
vs.                                 :
                                    :
                                    :
ROBINHOOD MARKETS,
ROBINHOOD    MARKETS, INC.,
                          INC.,     :
ROBINHOOD FINANCIAL
ROBINHOOD    FINANCIAL LLC,LLC, and
                                and :
ROBINHOOD SECURITIES,
ROBINHOOD    SECURITIES, LLC,LLC,   :
                                    :
                                    :
                  Defendants.
                  Defendants.       :
                                    :
___________________________________ x
                                    X

        COME NOW
        COME NOW Plaintiff,
                 Plaintiff, TRAVIS
                            TRAVIS TAAFFE
                                   TAAFFE on
                                          on behalf
                                             behalf of
                                                    of himself
                                                       himself and
                                                               and the
                                                                   the Class
                                                                       Class of
                                                                             of others
                                                                                others

similarly situated
similarly situated as
                   as defined
                      defined herein, and hereby
                              herein, and hereby files
                                                 files this
                                                       this Class
                                                            Class Action
                                                                  Action Complaint
                                                                         Complaint against
                                                                                   against

Defendants Robinhood
Defendants Robinhood Markets,
                     Markets, Inc., Robinhood Financial
                              Inc., Robinhood Financial LLC and Robinhood
                                                        LLC and Robinhood Securities,
                                                                          Securities,

LLC, (collectively "Robinhood")
LLC, (collectively “Robinhood”) and
                                and states
                                    states as
                                           as follows:
                                              follows:

                                         JURY DEMAND
                                         JURY DEMAND

        Plaintiff hereby
        Plaintiff hereby demands
                         demands aa trial
                                    trial by
                                          by jury.
                                             jury.

                                            I. PARTIES
                                            I. PARTIES

        1.
        1.     Plaintiff Travis
               Plaintiff Travis Taaffe
                                Taaffe is
                                       is an
                                          an adult
                                             adult citizen
                                                   citizen of
                                                           of Florida
                                                              Florida and
                                                                      and resides
                                                                          resides in
                                                                                  in Sarasota
                                                                                     Sarasota

County, Florida.
County, Florida.

        2.
        2.     At all
               At all times
                      times material
                            material hereto, Plaintiff Travis
                                     hereto, Plaintiff Travis Taaffe
                                                              Taaffe acquired
                                                                     acquired the
                                                                              the Robinhood
                                                                                  Robinhood

mobile phone
mobile phone application
             application and
                         and utilized
                             utilized the
                                      the same
                                          same to
                                               to acquire,
                                                  acquire, trade
                                                           trade and
                                                                 and hold
                                                                     hold securities
                                                                          securities in Florida.
                                                                                     in Florida.




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        3.
        3.      Defendant Robinhood
                Defendant Robinhood Markets,
                                    Markets, Inc. is aa financial
                                             Inc. is    financial services
                                                                  services holding
                                                                           holding company
                                                                                   company

incorporated in
incorporated in Delaware,
                Delaware, whose
                          whose subsidiaries
                                subsidiaries provide
                                             provide financial and investment
                                                     financial and investment services
                                                                              services via
                                                                                       via an
                                                                                           an

internet/cloud-based platform
internet/cloud-based platform that
                              that is also available
                                   is also available on
                                                     on mobile
                                                        mobile phones.
                                                               phones. Its
                                                                       Its subsidiary,
                                                                           subsidiary, Defendant
                                                                                       Defendant

Robinhood Financial
Robinhood Financial LLC,
                    LLC, is
                         is aa full service securities
                               full service securities firm
                                                       firm engaged in the
                                                            engaged in the retail
                                                                           retail sale
                                                                                  sale of
                                                                                       of securities
                                                                                          securities

and various
and various other
            other financial
                  financial products.
                            products. Its subsidiary, Defendant
                                      Its subsidiary, Defendant Robinhood
                                                                Robinhood Securities,
                                                                          Securities, LLC, is aa
                                                                                      LLC, is

full service securities
full service securities firm
                        firm engaged
                             engaged in the retail
                                     in the retail sale
                                                   sale of
                                                        of securities
                                                           securities and
                                                                      and various
                                                                          various other
                                                                                  other financial
                                                                                        financial

products.
products.     Defendants Robinhood
              Defendants Robinhood Markets,
                                   Markets, Inc.,
                                            Inc., Robinhood
                                                  Robinhood Financial
                                                            Financial LLC, and Defendant
                                                                      LLC, and Defendant

Robinhood Securities,
Robinhood Securities, LLC, provide internet
                      LLC, provide          and mobile
                                   internet and mobile phone
                                                       phone based
                                                             based securities
                                                                   securities sales
                                                                              sales and
                                                                                    and

services to
services to approximately
            approximately 10
                          10 million
                             million customers
                                     customers and/or
                                               and/or users.
                                                      users.

        4.
        4.      On Monday
                On Monday March
                          March 2,
                                2, 2020,
                                   2020, the
                                         the Dow
                                             Dow Jones
                                                 Jones Industrial Average rose
                                                       Industrial Average rose over
                                                                               over

1,294 points,
1,294 points, the
              the S&P
                  S&P 500
                      500 rose 136 points,
                          rose 136 points, and
                                           and the
                                               the Nasdaq
                                                   Nasdaq rose 384 points
                                                          rose 384 points in what was
                                                                          in what was the
                                                                                      the

biggest ever
biggest ever point
             point gain
                   gain in
                        in aa single
                              single day.
                                     day.

        5.
        5.      On this
                On this same
                        same day,
                             day, Robinhood's
                                  Robinhood’s entire
                                              entire trading
                                                     trading platform
                                                             platform was
                                                                      was completely
                                                                          completely

inaccessible and
inaccessible and unavailable
                 unavailable to
                             to all
                                all of
                                    of its
                                       its customers and/or users.
                                           customers and/or users. Thus,
                                                                   Thus, customers and/or users
                                                                         customers and/or users

were not
were not even
         even able
              able to
                   to access
                      access their
                             their cash,
                                   cash, securities
                                         securities and/or
                                                    and/or other
                                                           other property
                                                                 property kept on the
                                                                          kept on the Robinhood
                                                                                      Robinhood

platform, let
platform,     alone use
          let alone use Robinhood's
                        Robinhood’s services
                                    services to
                                             to buy,
                                                buy, sell
                                                     sell or
                                                          or trade
                                                             trade securities.
                                                                   securities.

                                II. JURISDICTION
                                II. JURISDICTION AND
                                                 AND VENUE
                                                     VENUE

        6.
        6.      This Court has
                This Court has original
                               original jurisdiction
                                        jurisdiction over
                                                     over this
                                                          this matter
                                                               matter under
                                                                      under the
                                                                            the Class
                                                                                Class Action
                                                                                      Action

Fairness Act
Fairness Act and
             and 28
                 28 U.S.C.
                    U.S.C. §1332.
                           §1332. This
                                  This is
                                       is aa putative
                                             putative class action in
                                                      class action    which: (1)
                                                                   in which: (1) there
                                                                                 there are
                                                                                       are

11 million
   million or
           or more
              more members
                   members in
                           in the
                              the Class;
                                  Class; 2)
                                         2) at
                                            at least
                                               least some
                                                     some members
                                                          members of
                                                                  of the
                                                                     the proposed
                                                                         proposed class
                                                                                  class have
                                                                                        have

different citizenship
different citizenship from at least
                      from at       one Defendant
                              least one Defendant and
                                                  and the
                                                      the claims of the
                                                          claims of the proposed
                                                                        proposed class members
                                                                                 class members

exceed $5,000,000.00
exceed $5,000,000.00 in
                     in the
                        the aggregate.
                            aggregate.




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        7.
        7.       Venue is
                 Venue is appropriate
                          appropriate as:
                                      as: Robinhood
                                          Robinhood Securities,
                                                    Securities, LLC, has aa headquarters
                                                                LLC, has    headquarters in
                                                                                         in this
                                                                                            this

district; Defendants
district; Defendants conduct
                     conduct business
                             business in
                                      in this
                                         this district;
                                              district; aa substantial
                                                           substantial part
                                                                       part of
                                                                            of the
                                                                               the events
                                                                                   events and
                                                                                          and

omissions that
omissions that give rise to
               give rise to the
                            the claims
                                claims alleged
                                       alleged herein
                                               herein occurred
                                                      occurred in
                                                               in this
                                                                  this district;
                                                                       district; and
                                                                                 and brokerage
                                                                                     brokerage

records related
records related to
                to sale
                   sale of
                        of securities
                           securities and
                                      and its books and
                                          its books and records are maintained
                                                        records are maintained and
                                                                               and administered
                                                                                   administered in
                                                                                                in

this district.
this district.

                                III. FACTUAL
                                III.         ALLEGATIONS
                                     FACTUAL ALLEGATIONS

        A.
        A.       Robinhood’s Securities
                 Robinhood's Securities Brokerage
                                        Brokerage Services  Were Unavailable
                                                  Services Were  Unavailable To
                                                                             To
                 All Customers
                 All Customers And/Or
                               And/Or Users   On March
                                        Users On        2, 2020
                                                 March 2,  2020

        8.
        8.       Robinhood provides
                 Robinhood provides "commission-free"
                                    “commission-free” trades
                                                      trades in
                                                             in stocks,
                                                                stocks, funds
                                                                        funds and
                                                                              and options
                                                                                  options using
                                                                                          using

an internet/cloud-based
an internet/cloud-based platform
                        platform for individual customers
                                 for individual customers and/or
                                                          and/or users.
                                                                 users.

        9.
        9.       It offers these
                 It offers these services
                                 services to
                                          to its
                                             its customers and/or users
                                                 customers and/or users through
                                                                        through its mobile phone
                                                                                its mobile phone

based application
based application as
                  as an
                     an alternative
                        alternative to
                                    to the
                                       the traditional
                                           traditional financial services provided
                                                       financial services provided in person, over
                                                                                   in person, over

the telephone
the telephone or
              or on
                 on the
                    the internet.
                        internet.

        10.
        10.      On Monday
                 On Monday March
                           March 2,
                                 2, 2020,
                                    2020, the
                                          the Dow
                                              Dow Jones
                                                  Jones Industrial Average rose
                                                        Industrial Average rose over
                                                                                over

1,294 points,
1,294 points, the
              the S&P
                  S&P 500
                      500 rose 136 points,
                          rose 136 points, and
                                           and the
                                               the Nasdaq
                                                   Nasdaq rose 384 points
                                                          rose 384 points in what was
                                                                          in what was the
                                                                                      the

biggest ever
biggest ever point
             point gain
                   gain in
                        in aa single
                              single day
                                     day for
                                         for all
                                             all three
                                                 three stock
                                                       stock market
                                                             market indices.
                                                                    indices.

        11.
        11.      In
                 In aa March
                       March 2,
                             2, 2020
                                2020 email to its
                                     email to its customers and/or users
                                                  customers and/or users Robinhood
                                                                         Robinhood stated,
                                                                                   stated, "This
                                                                                           “This

morning, starting
morning, starting at
                  at 9:33 AM ET,
                     9:33 AM     we started
                             ET, we started experiencing
                                            experiencing downtime across our
                                                         downtime across our platform.
                                                                             platform. These
                                                                                       These

issues are
issues are affecting
           affecting functionality on Robinhood,
                     functionality on Robinhood, including your ability
                                                 including your ability to
                                                                        to trade."
                                                                           trade.”

        12.
        12.      It was not
                 It was not until
                            until 2:19
                                  2:19 am
                                       am on
                                          on March
                                             March 3, 2020 that
                                                   3, 2020 that Robinhood
                                                                Robinhood announced
                                                                          announced publically
                                                                                    publically

on its
on its Twitter account that,
       Twitter account that, "Robinhood
                             “Robinhood is
                                        is currently back up
                                           currently back    and running.
                                                          up and running. We're
                                                                          We’re testing
                                                                                testing through
                                                                                        through

the night,
the night, and
           and you
               you may
                   may observe
                       observe some
                               some downtime as we
                                    downtime as we prepare
                                                   prepare for tomorrow.”
                                                           for tomorrow."

        13.
        13.      Robinhood’s customers
                 Robinhood's           and/or users
                             customers and/or users were
                                                    were not
                                                         not able
                                                             able to
                                                                  to access
                                                                     access Robinhood's
                                                                            Robinhood’s

platform to
platform to engage
            engage in
                   in any
                      any trading
                          trading activity,
                                  activity, to
                                            to access
                                               access their
                                                      their funds
                                                            funds kept on the
                                                                  kept on the platform,
                                                                              platform, to
                                                                                        to transfer
                                                                                           transfer


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funds onto the
funds onto the system
               system or
                      or to
                         to transfer
                            transfer funds
                                     funds off
                                           off the
                                               the system
                                                   system for all but
                                                          for all but 33 minutes
                                                                         minutes of
                                                                                 of New
                                                                                    New York
                                                                                        York Stock
                                                                                             Stock

Exchange trading hours,
Exchange trading hours, 9:30am until 4:00pm
                        9:30am until 4:00pm on
                                            on March
                                               March 2.
                                                     2. There were additional
                                                        There were additional outages
                                                                              outages of
                                                                                      of

Robinhood’s platform
Robinhood's platform on
                     on March
                        March 3, 2020.
                              3, 2020.

        14.
        14.    On March
               On March 3,
                        3, 2020,
                           2020, in
                                 in aa blog
                                       blog post
                                            post on
                                                 on Robinhood's
                                                    Robinhood’s website,
                                                                website, Robinhood's
                                                                         Robinhood’s Co-
                                                                                     Co-

CEOs admitted
CEOs admitted liability
              liability and
                        and that
                            that it
                                 it was
                                    was Robinhood
                                        Robinhood itself
                                                  itself which
                                                         which was
                                                               was solely
                                                                   solely responsible
                                                                          responsible for their
                                                                                      for their

complete failure;
complete failure; "We
                  “We now
                      now understand
                          understand the
                                     the cause
                                         cause of
                                               of the
                                                  the outage
                                                      outage was
                                                             was stress
                                                                 stress on
                                                                        on our
                                                                           our infrastructure—
                                                                               infrastructure—

which struggled
which struggled with
                with unprecedented
                     unprecedented load.
                                   load. That in turn
                                         That in turn led to aa "thundering
                                                      led to    “thundering herd"
                                                                            herd” effect—
                                                                                  effect—

triggering aa failure
triggering    failure of
                      of our
                         our DNS
                             DNS system."
                                 system.” As
                                          As such,
                                             such, Robinhood
                                                   Robinhood admits
                                                             admits that
                                                                    that the
                                                                         the platform
                                                                             platform outages
                                                                                      outages

were due
were     to its
     due to     own failures
            its own failures and
                             and expressly waive any
                                 expressly waive any defense related to
                                                     defense related to failures
                                                                        failures of
                                                                                 of the
                                                                                    the platform
                                                                                        platform

being out
being out Robinhood's
          Robinhood’s control.
                      control.

                            IV.
                            IV. CLASS ACTION ALLEGATIONS
                                CLASS ACTION ALLEGATIONS

        15.
        15.    Plaintiff brings
               Plaintiff brings this
                                this action
                                     action pursuant
                                            pursuant to
                                                     to Rule
                                                        Rule 23
                                                             23 of
                                                                of the
                                                                   the Federal
                                                                       Federal Rules
                                                                               Rules of
                                                                                     of Civil
                                                                                        Civil

Procedure on
Procedure on behalf
             behalf of
                    of the
                       the following
                           following Class:
                                     Class:

        Customers and/or
        Customers   and/or users
                           users of
                                 of Robinhood
                                    Robinhood in the United
                                              in the  United States who lost
                                                             States who  lost the
                                                                              the ability
                                                                                  ability to
                                                                                          to
        access their
        access their Robinhood
                     Robinhood brokerage
                                 brokerage accounts
                                           accounts to
                                                     to effectuate any transaction
                                                        effectuate any transaction therein
                                                                                    therein
        on March
        on March 2,
                  2, 2020.
                     2020.

        16.
        16.    Plaintiff is
               Plaintiff is aa member
                               member of
                                      of the
                                         the Class
                                             Class he
                                                   he seeks
                                                      seeks to
                                                            to represent.
                                                               represent. Plaintiff
                                                                          Plaintiff acquired
                                                                                    acquired the
                                                                                             the

Robinhood mobile
Robinhood mobile phone
                 phone application
                       application and
                                   and utilized
                                       utilized the
                                                the same
                                                    same to
                                                         to acquire,
                                                            acquire, trade
                                                                     trade and
                                                                           and hold
                                                                               hold securities.
                                                                                    securities.

Plaintiff was
Plaintiff was unable to access
              unable to access the
                               the mobile
                                   mobile phone
                                          phone application
                                                application to
                                                            to take
                                                               take any
                                                                    any action,
                                                                        action, engage
                                                                                engage in
                                                                                       in any
                                                                                          any

trading activity,
trading activity, to
                  to access
                     access his
                            his funds
                                funds kept on the
                                      kept on the platform,
                                                  platform, to
                                                            to transfer
                                                               transfer funds
                                                                        funds onto
                                                                              onto the
                                                                                   the system
                                                                                       system or
                                                                                              or to
                                                                                                 to

transfer funds
transfer       off the
         funds off the system
                       system for all but
                              for all but 33 minutes
                                             minutes of
                                                     of New
                                                        New York
                                                            York Stock
                                                                 Stock Exchange trading hours,
                                                                       Exchange trading hours,

9:30am until 4:00pm
9:30am until 4:00pm on
                    on March
                       March 2.
                             2.




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                                                 4
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         17.
         17.      The proposed Class
                  The proposed Class is so numerous
                                     is so numerous that
                                                    that joinder
                                                         joinder of
                                                                 of all
                                                                    all members
                                                                        members is
                                                                                is impracticable.
                                                                                   impracticable.

There are approximately
There are approximately 10
                        10 million
                           million customers
                                   customers and/or
                                             and/or users
                                                    users of
                                                          of Robinhood,
                                                             Robinhood, all
                                                                        all of
                                                                            of which
                                                                               which are
                                                                                     are

potential members
potential members of
                  of the
                     the Class.
                         Class.

         18.
         18.      There are questions
                  There are questions of
                                      of law
                                         law and
                                             and fact
                                                 fact common
                                                      common to
                                                             to the
                                                                the Class,
                                                                    Class, and
                                                                           and those
                                                                               those questions
                                                                                     questions

predominate over
predominate over individual
                 individual questions. All customers
                            questions. All customers and/or
                                                     and/or users
                                                            users of
                                                                  of Robinhood
                                                                     Robinhood were
                                                                               were affected
                                                                                    affected

by the
by the March
       March 2,
             2, 2020
                2020 platform
                     platform outage.
                              outage.

         19.
         19.      The claims alleged
                  The claims alleged by
                                     by Plaintiff
                                        Plaintiff are
                                                  are typical
                                                      typical of
                                                              of the
                                                                 the claims
                                                                     claims of
                                                                            of the
                                                                               the Class.
                                                                                   Class.

         20.
         20.      Plaintiff will
                  Plaintiff will fairly
                                 fairly and
                                        and adequately
                                            adequately represent
                                                       represent and
                                                                 and protect
                                                                     protect the
                                                                             the interests of the
                                                                                 interests of the Class.
                                                                                                  Class.

         21.
         21.      The questions of
                  The questions of law
                                   law and
                                       and fact
                                           fact common
                                                common to
                                                       to the
                                                          the members
                                                              members of
                                                                      of the
                                                                         the Class
                                                                             Class predominate
                                                                                   predominate

over any
over any questions
         questions affecting
                   affecting only
                             only individual
                                  individual members,
                                             members, and
                                                      and aa class
                                                             class action
                                                                   action is superior to
                                                                          is superior to other
                                                                                         other

available methods
available methods for the fair
                  for the      and efficient
                          fair and efficient adjudication
                                             adjudication of
                                                          of the
                                                             the controversy.
                                                                 controversy.

                                              V. CAUSES
                                              V.        OF ACTION
                                                 CAUSES OF ACTION

                                                  COUNT
                                                  COUNT II
                                             BREACH OF
                                             BREACH OF CONTRACT
                                                       CONTRACT

         22.
         22.      Plaintiff and
                  Plaintiff and class
                                class members
                                      members adopt
                                              adopt and
                                                    and incorporate paragraphs 11 through
                                                        incorporate paragraphs    through 21
                                                                                          21 in full.
                                                                                             in full.

         23.
         23.      Defendants forced
                  Defendants forced Plaintiff
                                    Plaintiff and
                                              and class
                                                  class members
                                                        members to
                                                                to consent
                                                                   consent to
                                                                           to the
                                                                              the Robinhood
                                                                                  Robinhood

Financial LLC
Financial     & Robinhood
          LLC & Robinhood Securities,
                          Securities, LLC
                                      LLC Customer Agreement1 in
                                          Customer Agreement) in order
                                                                 order to
                                                                       to gain access to
                                                                          gain access to

the Defendants'
the Defendants’ trading
                trading platform.
                        platform. Attached
                                  Attached as
                                           as Exhibit A.
                                              Exhibit A.

         24.
         24.      Defendants breached
                  Defendants breached their
                                      their contractual
                                            contractual duties
                                                        duties to
                                                               to Plaintiff
                                                                  Plaintiff and
                                                                            and class
                                                                                class members
                                                                                      members by
                                                                                              by

failing to
failing to provide
           provide aa functioning
                      functioning platform
                                  platform for Plaintiff and
                                           for Plaintiff and class members to
                                                             class members to access
                                                                              access their
                                                                                     their personal
                                                                                           personal

funds, securities and/or
funds, securities and/or other
                         other property.
                               property.




1 Plaintiff
  Plaintiff does not have
            does not      access to
                     have access to an
                                    an executed
                                       executed copy
                                                copy of
                                                     of same nor is
                                                        same nor is he
                                                                    he aware
                                                                       aware of
                                                                             of the
                                                                                the existence of one.
                                                                                    existence of one. Exhibit
                                                                                                      Exhibit A
                                                                                                              A is all
                                                                                                                is all
that is
that is available
        available and
                  and provided
                      provided to
                               to Plaintiff.
                                  Plaintiff.

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                                                          5
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        25.
        25.    Defendants’ breach
               Defendants' breach also
                                  also prevented
                                       prevented Plaintiff
                                                 Plaintiff and
                                                           and class members from
                                                               class members from executing
                                                                                  executing

market securities
market securities transactions
                  transactions on
                               on March
                                  March 22 and
                                           and March
                                               March 3, 2020. This
                                                     3, 2020.      breach caused
                                                              This breach caused Plaintiff
                                                                                 Plaintiff and
                                                                                           and

class members
class members to
              to miss
                 miss out
                      out on
                          on some
                             some of
                                  of the
                                     the highest
                                         highest single-day
                                                 single-day market
                                                            market gains
                                                                   gains in recorded history.
                                                                         in recorded history.

        26.
        26.    Plaintiff and
               Plaintiff and class
                             class members
                                   members have
                                           have all
                                                all been
                                                    been damaged
                                                         damaged in
                                                                 in aa similar
                                                                       similar manner
                                                                               manner due to
                                                                                      due to

Defendants breach
Defendants breach of
                  of contract.
                     contract.

        27.
        27.    Plaintiff requests
               Plaintiff requests relief as hereinafter
                                  relief as hereinafter described.
                                                        described.

                                   COUNT II
                                   COUNT II
                BREACH OF
                BREACH OF IMPLIED WARRANTY OF
                          IMPLIED WARRANTY  OF MERCHANTABILITY
                                               MERCHANTABILITY

        28.
        28.    Plaintiff and
               Plaintiff and class
                             class members
                                   members adopt
                                           adopt and
                                                 and incorporate paragraphs 11 through
                                                     incorporate paragraphs    through 21
                                                                                       21 in full.
                                                                                          in full.

        29.
        29.    Defendants breached
               Defendants breached their
                                   their implied
                                         implied warranty
                                                 warranty of
                                                          of merchantability
                                                             merchantability by
                                                                             by failing to
                                                                                failing to

provide aa trading
provide    trading platform
                   platform that
                            that is acceptable and
                                 is acceptable and reasonably fit for
                                                   reasonably fit for the
                                                                      the ordinary
                                                                          ordinary purposes
                                                                                   purposes for
                                                                                            for

which it
which it was
         was being
             being contracted,
                   contracted, in
                               in this
                                  this case,
                                       case, for including but
                                             for including but not
                                                               not limited
                                                                   limited to:
                                                                           to: the
                                                                               the purchase
                                                                                   purchase and
                                                                                            and sale
                                                                                                sale

of securities,
of securities, transferring
               transferring funds into Robinhood
                            funds into Robinhood or
                                                 or transferring
                                                    transferring funds
                                                                 funds out
                                                                       out of
                                                                           of Robinhood.
                                                                              Robinhood.

        30.
        30.    Defendants are
               Defendants are merchants
                              merchants with
                                        with respect
                                             respect to
                                                     to the
                                                        the kind of goods
                                                            kind of       at issue,
                                                                    goods at        as
                                                                             issue, as

Defendants are
Defendants are broker-dealers
               broker-dealers engaging in the
                              engaging in the securities
                                              securities markets.
                                                         markets.

        31.
        31.    Plaintiff and
               Plaintiff and class
                             class members
                                   members have
                                           have all
                                                all been
                                                    been damaged
                                                         damaged in
                                                                 in aa similar
                                                                       similar manner
                                                                               manner due to
                                                                                      due to

Defendants breach
Defendants breach of
                  of implied warranty of
                     implied warranty of merchantability.
                                         merchantability.

        32.
        32.     Plaintiff requests
                Plaintiff requests relief
                                   relief as
                                          as hereinafter
                                             hereinafter described.
                                                         described.

                                               COUNT III
                                               COUNT III
                                              NEGLIGENCE
                                              NEGLIGENCE

        33.
        33.    Plaintiff and
               Plaintiff and class
                             class members
                                   members adopt
                                           adopt and
                                                 and incorporate paragraphs 11 through
                                                     incorporate paragraphs    through 21
                                                                                       21 in full.
                                                                                          in full.

        34.
        34.    Defendants owed
               Defendants owed aa duty
                                  duty to
                                       to Plaintiff
                                          Plaintiff and
                                                    and class
                                                        class members
                                                              members to
                                                                      to exercise
                                                                         exercise reasonable
                                                                                  reasonable

care in
care in maintaining
        maintaining and
                    and supporting
                        supporting Defendants'
                                   Defendants’ internet/cloud-based trading platform
                                               internet/cloud-based trading platform so
                                                                                     so that
                                                                                        that

Plaintiff and
Plaintiff and class
              class members
                    members would
                            would not
                                  not be
                                      be adversely
                                         adversely affected
                                                   affected by
                                                            by extended
                                                               extended system
                                                                        system



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failures/outages.
failures/outages. This
                  This duty
                       duty includes,
                            includes, inter alia, designing,
                                      inter alia, designing, maintaining,
                                                             maintaining, and
                                                                          and testing
                                                                              testing Defendants'
                                                                                      Defendants’

trading platform
trading platform to
                 to ensure
                    ensure that
                           that the
                                the platform
                                    platform is adequately secured
                                             is adequately secured and
                                                                   and protected
                                                                       protected from
                                                                                 from upticks
                                                                                      upticks in
                                                                                              in

customer trading
customer trading volume
                 volume and
                        and user engagement. Defendants
                            user engagement. Defendants had
                                                        had aa duty
                                                               duty to
                                                                    to provide
                                                                       provide aa system
                                                                                  system and
                                                                                         and

platform robust
platform robust enough
                enough to
                       to handle all possible
                          handle all possible reasonable volumes of
                                              reasonable volumes of trading
                                                                    trading of
                                                                            of securities
                                                                               securities by
                                                                                          by

customers and
customers and users
              users and
                    and have
                        have aa redundant/backup system to
                                redundant/backup system to handle
                                                           handle outages.
                                                                  outages. Defendants'
                                                                           Defendants’ duty
                                                                                       duty

further includes providing
further includes providing Plaintiff
                           Plaintiff and
                                     and class
                                         class members
                                               members with
                                                       with alternative
                                                            alternative forms of trading
                                                                        forms of trading when
                                                                                         when

Defendants’ mobile
Defendants' mobile trading
                   trading application
                           application was
                                       was inaccessible;
                                           inaccessible; for
                                                         for instance, providing its
                                                             instance, providing     customers
                                                                                 its customers

with aa phone
with    phone number
              number to
                     to call
                        call in
                             in order
                                order to
                                      to execute
                                         execute various
                                                 various trades
                                                         trades or
                                                                or to
                                                                   to have
                                                                      have funds transferred.
                                                                           funds transferred.

        35.
        35.    Defendants breached
               Defendants breached their
                                   their duty
                                         duty to
                                              to exercise
                                                 exercise reasonable
                                                          reasonable care
                                                                     care in safeguarding and
                                                                          in safeguarding and

protecting Plaintiffs
protecting Plaintiff’s and
                       and other
                           other class members’ assets
                                 class members' assets from the extended
                                                       from the extended system
                                                                         system failures
                                                                                failures

experienced on
experienced on March
               March 2,
                     2, 2020
                        2020 and
                             and March
                                 March 3,
                                       3, 2020.
                                          2020. Defendants
                                                Defendants further breached their
                                                           further breached their duty
                                                                                  duty by
                                                                                       by

failing to
failing to provide
           provide adequate
                   adequate support
                            support to
                                    to the
                                       the trading
                                           trading platform
                                                   platform to
                                                            to ensure that it
                                                               ensure that it could
                                                                              could continue
                                                                                    continue to
                                                                                             to

function during
function during an
                an uptick
                   uptick in
                          in trading
                             trading volume
                                     volume and
                                            and user
                                                user engagement.
                                                     engagement.

        36.
        36.    Plaintiff and
               Plaintiff and class
                             class members
                                   members have
                                           have all
                                                all been
                                                    been damaged
                                                         damaged in
                                                                 in aa similar
                                                                       similar manner
                                                                               manner due to
                                                                                      due to

Defendants’ negligence.
Defendants' negligence.

        37.
        37.    Defendants’ negligence
               Defendants' negligence was
                                      was the
                                          the direct
                                              direct and
                                                     and proximate
                                                         proximate cause
                                                                   cause of
                                                                         of the
                                                                            the damages
                                                                                damages

suffered by
suffered by Plaintiff
            Plaintiff and
                      and the
                          the other
                              other class
                                    class members.
                                          members.

                                     PRAYER FOR
                                     PRAYER FOR RELIEF
                                                RELIEF

        WHEREFORE, Plaintiffs
        WHEREFORE, Plaintiffs respectfully
                              respectfully request
                                           request that
                                                   that this
                                                        this Court
                                                             Court find
                                                                   find in
                                                                        in favor of them
                                                                           favor of them and
                                                                                         and

the Class
the Class of
          of similarly
             similarly situated
                       situated individuals and against
                                individuals and against Defendants
                                                        Defendants as
                                                                   as follows:
                                                                      follows:

        a.
        a.     Certify this
               Certify this case as aa class
                            case as    class action;
                                             action;

        b.
        b.     Designate Plaintiff
               Designate Plaintiff as
                                   as Class
                                      Class Representative;
                                            Representative;

        c.
        c.     Designate Plaintiffs'
               Designate Plaintiffs’ counsel of record
                                     counsel of record as
                                                       as Class
                                                          Class Counsel;
                                                                Counsel;



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        d.
        d.     Order appropriate
               Order appropriate equitable
                                 equitable relief
                                           relief to
                                                  to remedy
                                                     remedy the
                                                            the inappropriate
                                                                inappropriate conduct;
                                                                              conduct;

        e.
        e.     Award Plaintiff
               Award Plaintiff and
                               and all
                                   all others
                                       others similarly
                                              similarly situated
                                                        situated the
                                                                 the full
                                                                     full value
                                                                          value of
                                                                                of all
                                                                                   all damages
                                                                                       damages

sustained now
sustained now or
              or in
                 in the
                    the futures
                        futures as
                                as aa result
                                      result of
                                             of Defendants'
                                                Defendants’ conduct;
                                                            conduct;

        f.
        f.     Award Plaintiff
               Award Plaintiff and
                               and all
                                   all others
                                       others similarly
                                              similarly situated
                                                        situated all
                                                                 all damages,
                                                                     damages, interest and
                                                                              interest and

attorneys’ fees
attorneys'      recoverable under
           fees recoverable under applicable
                                  applicable laws;
                                             laws;

        g.
        g.     Award Plaintiff
               Award Plaintiff and
                               and all
                                   all others
                                       others similarly
                                              similarly situated
                                                        situated punitive
                                                                 punitive damages,
                                                                          damages, compensatory
                                                                                   compensatory

and other
and other damages;
          damages;

        h.
        h.     Order injunctive
               Order injunctive relief
                                relief including
                                       including but
                                                 but not
                                                     not limited to an
                                                         limited to an Order
                                                                       Order requiring
                                                                             requiring that
                                                                                       that

Defendants’ systems
Defendants' systems are
                    are capable of handling
                        capable of handling its
                                            its customers’ and/or users'
                                                customers' and/or users’ securities
                                                                         securities transactions
                                                                                    transactions

even in
even in aa time
           time of
                of heavy
                   heavy trading
                         trading volume,
                                 volume, as
                                         as well
                                            well as
                                                 as requiring Defendants to
                                                    requiring Defendants to implement adequate
                                                                            implement adequate

redundancy or
redundancy or backup
              backup processes
                     processes to
                               to ensure
                                  ensure that
                                         that should
                                              should aa system
                                                        system outage
                                                               outage occur
                                                                      occur there
                                                                            there is
                                                                                  is another
                                                                                     another

avenue for
avenue for customers
           customers and/or
                     and/or users
                            users to
                                  to access,
                                     access, control
                                             control and
                                                     and trade
                                                         trade their
                                                               their cash,
                                                                     cash, securities
                                                                           securities and/or
                                                                                      and/or other
                                                                                             other

property.
property.

        i.
        i.     Award Plaintiff
               Award Plaintiff and
                               and all
                                   all others
                                       others similarly
                                              similarly situated
                                                        situated any
                                                                 any and
                                                                     and all
                                                                         all other
                                                                             other relief
                                                                                   relief as
                                                                                          as this
                                                                                             this

Court deems
Court       just and
      deems just and proper;
                     proper; and
                             and

        j.
        J.     That this matter
               That this matter be
                                be tried
                                   tried by
                                         by aa jury.
                                               jury.


Dated: March
Dated: March 4,
             4, 2020
                2020                           Respectfully submitted,
                                               Respectfully submitted,


                                               By: _/s/Michael
                                               By:   /s/Michael S.S. Taaffe____
                                                                     Taaffe
                                               Michael S.
                                               Michael    S. Taaffe
                                                             Taaffe
                                               Florida State
                                               Florida         Bar No.
                                                        State Bar  No. 490318
                                                                       490318
                                               Michael D.
                                               Michael    D. Bressan
                                                             Bressan
                                               Florida State
                                               Florida         Bar No.
                                                        State Bar  No. 0011092
                                                                       0011092
                                               Jarrod
                                               Jarrod J.  Malone
                                                       J. Malone
                                               Florida State
                                               Florida         Bar No.
                                                        State Bar  No. 0010595
                                                                       0010595
                                               Shumaker,
                                               Shumaker, LoopLoop && Kendrick,
                                                                     Kendrick, LLP
                                                                                LLP
                                               240 South
                                               240          Pineapple Ave.,
                                                    South Pineapple          10th Floor
                                                                       Ave., 10th Floor
                                               Sarasota,   Florida 34236
                                               Sarasota, Florida 34236


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                                   Attorneysfor  Plaintiff




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